Case 2:03-cr-20316-.]PI\/| Document 98 Filed 08/03/05 Page 1 of 2 Page|D 92

 

 

IN THE UNITED STA'I`ES DISTRICT COURT F\\_E;;» ifr ,V% D-C'
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 35 hug -3 PH \2= 25
UNITED STATES OF AMERICA, * j __ `_ 13 `
* Cg_g\qg; :Mif;-`_, mij COURT
. .'.F - ,»!_'_‘z\.x.
Plaintiff, * ' ‘¢\i;@ L.-‘F ¥\~ ‘A-=“'DH\S
*
v. * Criminal No. 03~20316-})
‘k
SHELDRICK EDWARDS, *
1\'
Defendaot. *
*

 

ORDER GRANTING MOTION TO RESET
SENTENCING HEARING

 

Upon Motion of the Um`ted States the change of sentencing hearing in this case is hereby

reset for &L¢§l“§i 23 ,2005,,&;\' l`~b'°?f*\,

DONE at Memphis, Tennessee, this£_ day of , 2005.

  

NORABLE B RNICE B. DONALD
ITED STATES DISTRICT IUDGE

 
 

`l'his document entered on the docket sh . ' /

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wm Ru»a 55 and/or 32(b) FFICrP on Z*Tphuja

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This notice confirms a copy of the document docketed as number 98 in
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Honorable Bernice Donald
US DISTRICT COURT

